Case 2:04-Cr-20307-.]P|\/|-de Document 67 Filed 08/01/05 Page 1 of 2 Page|D 104

FILED BY 00
IN THE UNITED STATES DISTRICT COURT "' ' '

 

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AUG "| AH |0= 5|
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W;af C?'“ §*AE."v!-DHB

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04~2030'7-1’*/11

KENNETH GRAY

Defendant(s)

~_,»~_/V-._/~._¢~._¢-._r\-._¢-._.~\-._.~\.._,-..r

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for Trial on Monday, August 8, 2005 at 9:30 A.M.
Counsel for the government requested. a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
to Friday, August 26, 2005 at 9:00 A.M. and a trial date of September 6,
2005.

The period from August 12, 2005 through September 16. 2005 is
excludable under 18 U.S.C. § BlGl(h)(B)(B)(iv) to allow government
counsel additional time to prepare.

IT IS SO ORDERED this the f day of August, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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Honcrable Jon McCalla
US DISTRICT COURT

